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   STEVEN FAMA – 099641                             JANE E. KAHN – 112239
 2 ALISON HARDY – 135966                            ERNEST GALVAN – 196065
   SARA NORMAN – 189536                             THOMAS NOLAN – 169692
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   PRISON LAW OFFICE
                                                    LORI E. RIFKIN – 244081
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   1917 Fifth Street                                MENDELSON – 268583
 4 Berkeley, California 94710-1916                  ROSEN BIEN GALVAN &
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 5                                                  315 Montgomery Street, Tenth Floor
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 8 LINDA L. USOZ – 133749                           THE LEGAL AID SOCIETY –
   MEGAN CESARE-EASTMAN – 253845                    EMPLOYMENT LAW CENTER
 9 K&L  GATES LLP
   4 Embarcadero Center, Suite 1200
                                                    600 Harrison Street, Suite 120
                                                    San Francisco, California 94107-1389
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10 Telephone: (415) 882-8200
11
     Attorneys for Plaintiffs
12
13                      UNITED STATES DISTRICT COURTS
14                      EASTERN DISTRICT OF CALIFORNIA
                     AND NORTHERN DISTRICT OF CALIFORNIA
15
            UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
16           PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
17
18
   RALPH COLEMAN, et al.,                           Case No. Civ S 90-0520 LKK-JFM P
19          Plaintiffs,                             THREE JUDGE COURT
20     v.
   EDMUND G. BROWN, JR., et al.,
21
            Defendants.
22
23 MARCIANO PLATA, et al.,                          Case No. C01-1351 TEH
            Plaintiffs,                             THREE JUDGE COURT
24
       v.
25 EDMUND G. BROWN, JR., et al.,                    PLAINTIFFS’ COMPLIANCE
                                                    OFFICER RECOMMENDATIONS
26          Defendants.

27
28

                                PLTFS’ COMPLIANCE OFFICER RECOMENDATIONS
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 1         Pursuant to the Court’s February 10, 2014 Order at ¶ 8, Plaintiffs hereby
 2 recommend the following two candidates for the position of Compliance Officer.
 3         1. Wendy Still. Ms. Still is currently the Chief Adult Probation Officer for the
 4 City and County of San Francisco. Prior to that, Ms. Still worked for the Receiver Clark
 5 Kelso and was employed in various positions over a more than twenty-year period by the
 6 California Department of Corrections and Rehabilitation. Ms. Still’s CV is attached hereto
 7 as Exhibit A.
 8         2. Starr Babcock. Mr. Babcock is the former general counsel of the State Bar of
 9 California and Managing Attorney, Office of General Counsel for the Administrative
10 Office of the Courts. Among other areas of public service, Mr. Babcock has served as a
11 Pro Bono Mediator and Special Assistant to the Court in Plata. Mr. Babcock’s CV is
12 attached hereto as Exhibit B.
13
14                                         Respectfully submitted,
     DATED: March 12, 2014
15                                         PRISON LAW OFFICE
16
                                           By: /s/ Donald Specter
17                                             Donald Specter
18
                                           Attorneys for Coleman Plaintiffs
19                                         Attorneys for Plata Plaintiffs
20
21
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                           PLTFS’ COMPLIANCE OFFICER RECOMENDATIONS
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                             EXHIBIT A
Wendy Still                                                                                                                           Page 2

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                                                       WENDY STILL, M.A.S.
                                                        703 Cotton Glen Court
                                                      Roseville, California 95661
                                                       (415) 553-1688 (Office)
                                                        (916) 532-7390 (Cell)

QUALIFICATIONS SUMMARY

    •   Prison, Community Corrections, and Probation Expert with 28 years experience.
    •   Criminologist and Peace Officer.
    •   Recognized for implementing major systemic correctional systemic reform.
    •   Expert in developing a program vision and successfully planning and implementing the vision.
    •   Readily establish positive, professional rapport among Executive Leadership, State legislative officials, control agencies,
        union representatives, stakeholders, staff, the public, the media, local County officials, criminal justice partners, public
        health, community based organizations, statewide inmate family council and inmates,
    •   Ability to make sound decisions independently and under pressure of deadlines. Highly self-directed.
    •   Management of budgets up to $5.6 billion, 50,000 employees and 40,000 inmates

EDUCATION

    University of California, Irvine, Masters of Advanced Studies, Criminology, Law & Society – GPA: 4.0
    University of San Francisco, Bachelor of Science Degree in Organizational Behavior - GPA: 4.0.

EMPLOYMENT

City/County of San Francisco                                                                                          3-10– Present
    Chief Adult Probation Officer
    San Francisco Adult Probation Department, San Francisco
     • American Probation and Parole Association President’s Award 2013
     • Provide leadership and direction for the San Francisco City and County Adult Probation Department.
             o Reduced probation revocations to state prison by 83%
             o Increased successful probation terminations to 80%
             o Designated as a High Performance County for Evidence Based Practice implementation (SB 678)
     • Implemented California’s historic AB 109 Prison-County criminal justice realignment, reformed probation supervision
         incorporating evidence based and family focused practices.
     • Chairperson, Executive Community Corrections Partnership Council; Co-chair SF Reentry Council; Member, SF
         Sentencing Commission; and Board Member, Association of Criminal Justice Researchers
     • Appointed by the State Senate as Board Member to the California Rehabilitation Oversight Board overseeing the California
        Department of Corrections and Rehabilitation’s programs representing Chief Probations Officers’ statewide interests

Homeland Security-Office of Civil Right and Civil Liberties                                                   08-11- Present
   • Conduct expert conditions of confinement and civil rights investigations related to immigration detainees.

California Federal Prison Health Care Services                                                                          9-08 - 2-10
    Appointed by J. Clark Kelso, Federal Prison Receiver

    Director, Activation Management and Rehabilitation Program
    Corrections Services, Sacramento
    • Accountable for the oversight of all activation activities involved in the management support and infrastructure for each of the
        California Prison Health Care Services (CPHCS) new and renovated health care facilities.
    • Responsible for the development, design and oversight of all rehabilitative services in new and renovated health care facilities
        including: vocational and academic education, libraries, religious services, recreation, counseling services, addiction programs,
        visitation, daily activities and re-entry programs.
    • Responsible for creating and managing an activation organizational structure with new policies and protocols to carry out the
        related Federal Receiver’s objectives as described in the Federal Receiver’s Turnaround Plan of Action for Achieving a
        Constitutional Level of Medical Care in California Prisons.
    • Create and implement program staffing, deliverables, and coordinates the delivery of activation and rehabilitative services with
        other custody and medical services.
    • Represents CPHCS before the legislature and the administration, the Department of Finance, the Legislative Analyst’s Office,
        constituent groups, the media and state and federal agencies, including the courts.
    • Designed and managed a mental health inmate research project to produce evidence on inmates and parolees for the design of
        the new consolidated correctional care center programs to improve behavior and reduce recidivism.
    • Designed and lead the statewide prison medical population assessment project to produce population projections needed to
Wendy Still                                                                                                                        Page 3

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        master plan the capacity and components of the statewide correctional medical bed system.

California State Department of Corrections and Rehabilitation                                                        1985 - 2008
    Associate Director-Female Offender Programs & Services, Division of Adult Institutions                 10-05 – 9-08
    Div. of Adult Institutions Sacramento (Governor’s Appointment/Confirmed by State Senate Rules Committee)
    • Developed a strategic master plan for 11,700 California female felon offenders.
    • Provided leadership direction, evaluation, coordination and institutional oversight for three female prisons, Civil Addict
        Programs, three conservation camps, six Family Foundation Programs and Community Mother Prisoner Programs, Women and
        Children Services Unit, the Female Rehabilitative Community Correctional Center, and the Female Residential Multi
        Service Center Program with budgets exceeding $387 million dollars.
    • Designed, developed and managed female offender institutions and programs utilizing performance measurement tools.
        Created the accountability performance metrics for all female programs.
    • Oversight of all inmate casework, appeals, disciplinary and re-entry functions for community female programs.
    • Developed an extensive, active community group network.
    • Researched, reviewed and recommended policy standardization and regulatory proposals, provided leadership on statewide
        issues related to female offenders.
    • Secured $150 million in funding and implemented female offender program reforms aligned with departmental strategic
        objectives. Improved rehabilitative programming opportunities, including community re-entry.
    • Gender Responsive Strategies Commission Chairperson.
    • Conducted onsite visits, audits and performed immediate review of major emergency incidents.
    • Designed and managed two transgender correctional safety research projects which produced evidence needed to update
        statewide departmental transgender case management and housing policies.
    • Departmental transgender expert on policy and testified in Federal Court as a departmental expert.
    • Prison Rape Elimination Act (PREA) Executive Project Director. Developed and implemented California’s Correctional
        Statewide PREA Compliance Program for 170,000 inmates housed in 33 prisons.
    • Oversight of security issues, such as policies and procedures on the use of force, shooting policies and training, primary and
        secondary response, and post orders; housing policies, procedures and practices; effectiveness of overall operations to
        ensure departmental areas worked together to provide a safe and secure operation that was aligned with strategic objectives.
    • Oversight of female institution and community correction program audit compliance and issue resolution. Ensured effective
        audit corrective action plans were written and complied with.

    Associate Director-Reception Center Mission
    Southern Regional Administrator (A), Institutions Division                                               11-04 - 9-05
    Division of Adult Institutions, Sacramento
    • Provided administrative direction, oversight and counsel to Wardens on matters related to all facets of institutional operations
        for ten male and female prisons and approximately 40,000 inmates with budgets exceeding $1 billion.
    • Ensured classification casework met set performance standards.
    • Chaired the Reception Center Operational Streamlining workgroup with a mission to increase operational efficiency.
    • Conducted periodic site visits related to institutional security, policies, procedures and practices.
    • Oversight of institution audit compliance and issue resolution. Ensured effective audit corrective action plans were written and
        complied with.

    Deputy Director/Chief Financial Officer, Financial Services Division                                   12-99 – 11-04
    Office of the Chief Deputy Director, Support Services, Sacramento
    • Provided financial leadership, direction and management of a $5.7 billion budget and 50,000 authorized positions.
    • Developed and implemented statewide fiscal management policies and a fiscal training program.
    • Established statewide standards for all financial services, including budgeting and accounting.
    • Testified at Legislative Budget Hearings.
    • Primary departmental financial affairs contact for the Department of Finance, Legislature, Legislative Analyst’s Office and the
        Bureau of State Audits.
    • Secured $70 million to implement an automated statewide Business Information System.

    Special Assistant to the Chief Deputy Director                                                          9-98 - 12-99
    (Correctional Administrator)
    Office of the Chief Deputy Director, Support Services, Sacramento
    • Headquarters Operational Assessment $45 million Budget Reduction Team member.
    • Prepared policy analysis and recommendations.
    • Team Leader for Staff Development Center/Basic Correctional Officer Academy Split Project.
    • Researched issues, facilitated problem resolution and completed special projects.

    Correctional Administrator
Wendy Still                                                                                                                          Page 4

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     Chief, Correctional Planning and Research Branch                                                          2-97 - 8-98
     Chief, Regulation and Policy Management
     Evaluation, Compliance and Information Systems Division, Sacramento
     • Organized and directed transfer of Three Strikes Planning Office to Planning and Construction Division.
     • Managed large scale, multi-disciplinary projects involving investigation of best practices, use of stakeholder work groups, input
         and benchmarking of techniques.
     • Managed the Department's strategic planning activity.
     • Networked nationally among federal and state agencies, as well as private industry, to identify innovative strategies for
         department application.
     • Managed the development, composition and quality control of the Department’s Operations Manual.
     • Directed preparation and promulgation of changes to California Code of Regulations driven by policy modifications related to
         staff, inmates and administration.
     • Testified before legislative committees and at legal depositions related to regulations and policy.

     Acting Chief Deputy Warden                                                                                6-90 - 10-96
     Correctional Administrator (Associate Warden-Business Services)
     California State Prisons - Solano, Folsom and Wasco
     Held various high level institution operations and business positions with duties including:
     • Chief Institutional Operations Officer, responsible for overall institutional safety and security.
     • Planned and directed correctional programs, including: inmate casework, work-training incentive, classification, education,
         medical, litigation management, appeals, labor relations and business management.
     • Chaired the Warden’s Institutional Classification Committee (highest level of prison classification review), which is responsible
         for the most complex inmate housing, safety, security, and case management decisions.
     • Managed plant operations, hazardous materials, budgeting, accounting, food services, procurement, canteen, clothing,
         warehousing, personnel assignments, return-to-work and personnel activity for 1,150 staff and 4,800 inmates.
     • Administrated $71 million annual operating budget. Oversight of the preparation of budget concept statements, overcrowding,
         staffing activation and deactivation packages. Resolved institutional operating deficiencies.
     • Negotiated with CCPOA and other union representatives on staffing and business matters.
     • Met with Inmate Advisory Committee to resolve inmate issues.
     • As EEO Coordinator, responded to Department of Fair Employment and Housing and CDC internal, informal and formal
         discrimination and sexual harassment complaints on behalf of the Warden.
     • Special Assignments: Master Trainer Sexual Harassment Prevention Training, EEO Counselor, Employee Assistance Program
         (EAP) Coordinator, Joint Venture Coordinator, Management Performance Appraisal System (MPAS) Coordinator,
         Management By Objective (MBO) Coordinator, Departmental Women's Liaison Council (DWLC) Executive Chair 1991 -
         1993 and Member, Director's Female Custody Uniform Task Force Committee, Female SERT Recruitment Task Force
         Member, and Discrimination Complaint Investigator.

     Business Services Officer I, II, III                                                                     12-85 - 5-90
     Central Office Business Services, Sacramento

HONORS
  • American Probation and Parole Association President’s Award-July 2013
  • Healthright 360˚ Community Partner Award-December 2012
  • Capstone Award, University of California Irvine – June 2008
  • Letter of Appreciation from CDCR Director, Division of Adult Institutions – June 2008
  • Letter of Appreciation for participation in the Strategic Action Plan, Goal 5, “Crime Prevention
     And Safety” from CDCR Chief Deputy Director, Field Operations – June 2005
  • Certificate of Appreciation–Participation in Fiscal Workgroup Executive from Agency Secretary - November 2004
  • Letter of Commendation from Attorney General's Office - June 1998
  • Letter of Commendation for outstanding performance from A. C. Newland, Warden - February 1997
  • Management Training Program Instructor Award - 1997
  • Leadership Institute Graduate - 1995
  • Management Training Instructor Appreciation Award - 1994
  • Departmental Women's Liaison Council Appreciation Award - 1993
  • Director's Appreciation Award - 1993
  • Employee of the Month - February 1991
  • Supervisor of the Year Award – 1990
  • Governor's Merit Award – 1980

CIVIC POSITIONS
Vice Chairperson, City of Roseville Homeless Commission, 1998
Wendy Still                                                                                                                                             Page 5

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PROFESSIONAL ASSOCIATIONS
American Probation and Parole Association             American Society of Criminology     International Association for Correctional and Forensic Psychology
National Association of Probation Executives          American Correctional Association   California Chief Probation Officers Association
Association of Criminal Justice Researchers (Board Member)
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                             EXHIBIT B
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                                       Starr Babcock




Senior Executive, State Bar of California 2006-2014


I am responsible for the oversight and management of the Member Service Division
(MSD), including development and responsibility for 60 employees and a budget in excess
of 40 million dollars. The Member Services Division reports to the Board of Governor’s
Member Involvement Relations and Services Committee. In 2008 the MSD launched the
first State Bar Member branded website --Calbar Connect— generating over 2 million
dollars per year in non-dues revenue to fund new and enhanced member services and
contribute to the California Bar Foundation’s scholarship program.
I recently was assigned oversight and management of the Office of Legal Services, Bar
Relations and California Young Lawyers. I work closely with the Office of General Counsel
on the maintenance and enforcement of all rules and regulation related to these programs.


Other assignments include: 1) staffing the Board’s standing committees’ on group
insurance and professional liability; 2) oversight and management of Section education and
the annual meeting; 3) Minimum Continuing Legal Education (MCLE) compliance; and
regulation of Limited Liability Partnership (LLP) and Law Corporations (LC), 4) oversee
the State Bar administration of justice committees.


I serve as a member of the Senior Executive Team, staff liaison to the California Supreme
Court, the California Administrative Office of the Courts (AOC), and the California Judges
Association (CJA) since I began employment as special assistant in 2000.
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2000 – 2006: Special Assistant to the Executive Director, State Bar of California


Serving as the Special Assistant to Executive Director Judy Johnson and at the direction of
the Board of Governors I managed the implementation of a comprehensive governance and
strategic planning initiative for the State Bar. The Board adopted a long-term strategic
plan in 2004 and a continuing operational planning model consistent with judicial branch
standards. I also developed and staffed the quarterly meetings with
California Supreme Court staff was staff coordinator to the Board of Governor’s Planning
Committee and served as the State Bar representative to the California Supreme Court’s
Committee on Attorney Discipline.


In the legislative area I was lead staff with the State Bar’s Office of Governmental Affairs
to negotiate the Attorney Diversion and Assistance Program, joined to the State Bar’s fee
bill in 2002. I also took the lead in setting up a “plain English” rule rewrite of all State
Bar rules and planned and delivered the first training and worked with the General
Counsel’s office to establish a rule writing process.


In 2004, I assumed the responsibility for reorganizing the Office of Certification
Department, including all MCLE compliance and certification, Board of Legal Specialization,
and Limited Liability Corporations, Law Corporations, Multi-Jurisdictional Practice (MJP)
and all the other smaller certification programs. At the direction of the Executive Director I
oversaw the reorganization of this Certification, Sections Education, the Lawyer Assistance
program and all insurance programs into the Member Service Division without additional
resources or personnel.




1996-2000         Managing Attorney, Office of General Counsel
                     Administrative Office of the Courts,
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                   Judicial Council of California


Responsible for hiring, management, and supervision of staff attorneys, outside counsel,
and supporting administrative staff providing advice and counsel to the Chief Justice, the
Judicial Council and its advisory committees, and the appellate and trial courts. Oversight
responsibility for all litigation affecting the Judicial Council, the Administrative Office of the
Courts, the appellate courts and justices, and trial courts, judges, and court employees.


Other assignments included:


1) Lead staff for the Jury Instructions Task Force and the Complex Litigation Pilot
Program, court rules revision project, legal opinion unit, and overall advice and counsel to
the judicial branch to assist compliance with the Trial Court Funding Act signed into law in
1996.


2) Lead project manager for the implementation of Proposition 220, passed June 3, 1998,
providing the option of abolishing municipal courts and unifying all California trial courts as
superior courts. The project required significant negotiation with many trial courts, (in
particular, Los Angeles County Superior Court), to assist their compliance with the state
finance budget change proposal process to meet planning deadlines.




1990—1996        Senior Assistant General Counsel, Office of General Counsel, State
                   Bar of California


I was lead counsel on behalf of the Board of Governors and the State Bar in the Keller/
Brosterhous arbitrations. I argued 10 discipline and admission cases before the California
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Supreme Court, acted as staff counsel to the Committee of Bar Examiners, gave advice
and counsel to the Board of Governors and its standing committees. I defended all
categories of litigation against the State Bar in state and federal courts, wrote rules as
assigned, negotiated, drafted, and reviewed contracts, and gave legal advice to all
departments within the Bar, the Board of Governors, and its standing and volunteer
committees.




1988—1990         Senior Trial Counsel, State Bar of California


I prosecuted attorneys charged with ethics violations in administrative trial proceedings. I
tried cases in the old volunteer administrative courts as well the new State Bar Court and
Review Department.




1975—1988      Private Practice


Associate, Engel and Warner, Partner, Engel and Babcock, Law Offices of Starr Babcock. I
worked mainly as a general personal injury attorney with an emphasis on medical and
legal malpractice cases. I litigated and tried cases in U.S. District Court, Ninth Circuit Court
of Appeals, First District Court of Appeal, and principally in the trial courts of San
Francisco, San Mateo, Santa Clara, Alameda, Contra Costa, Solano, Marin, Sacramento,
Alameda, Los Angeles, San Diego, Orange, Stanislaus, San Joaquin, Butte, and Shasta
counties.




Other Public Service


2007 – Appointed pro bono mediator and Special Assistant to the Federal Court by Senior
United States District Judge Thelton E. Henderson, in the matter of Plata v.
 Case 2:90-cv-00520-KJM-SCR           Document 5110        Filed 03/12/14     Page 13 of 15



Schwarzenegger. I work closely with the Court, its appointed Federal Receiver, plaintiff’s
counsel, and the state defendants. I also serve as pro bono staff and ex officio member of
the Plata Advisory Board that meets quarterly to advise Judge Henderson on progress to
achieving the goal of providing constitutionally adequate health care in California’s prisons.
At Judge Henderson’s direction I recruited and provide advice and assistance to the
Advisory Board and the Court as requested.


2007 – Appointed by Chief Justice Ronald M. George to serve on the Task force on
Judicial Retention and Elections. The taskforce developed 86 recommendations and
reported to the Commission on Fair and Impartial Courts.


2002 – Appointed by Chief Justice Ronald M. George to serve on the California Supreme
Court’s Advisory Committee on Lawyer Regulation.


1998-2000 – Appointed by the Board of Governors as a member of the State Bar
Committee of Bar Examiners (CBX). CBX is a State Bar statutory standing committee
that develops and administers the bar exam, screens applicants for good moral character,
and regulates California’s law schools. I served as Chair of the Education Standards
subcommittee, the subcommittee charged with accreditation and regulation of California’s
law schools.


1995 – Appointed by then Chief Judge Thelton E. Henderson as Chair of a Magistrate
Selection Committee for the Northern District of California.
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Education


J.D. Georgetown University Law Center
B.A. Davis and Elkins College (West Virginia)
Licensed to practice law in California --1975



References


Honorable Thelton E. Henderson
Senior United States District Judge
U.S. District Court
450 Golden Gate Ave
San Francisco, CA 94102
(415) 522 3630 (Chambers)


Honorable James Herman
Judge, Superior Court
Santa Barbara, California
(Former Board of Governor’s member
And President of State Bar, 2002-03)




Russell Roeca
Partner, Roeca, Hager and Haas LLP
San Francisco, California
(Current President, Bar Association of
San Francisco and former Board of Governor’s
Member, 2001-03)
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(415) 352 0980


Diane Nunn
Director, Center for Families, Children and the Courts
455 Golden Gate Ave
San Francisco, California
(415) 865 7217


Melissa Johnson
Staff and Chambers attorney to
Chief Justice Ronald M. George
350 McAllister Street
